\DOO\]O\UI-I>L)Jl\))-»

I\)l\)[\)l\)l\)[\)-l\)l\)l\)>-‘
®\IQMLWN~O©§EEGIEE:S

 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

 

 

DON ANDERSON, individually and on ) » Case No.
behalf of all others similarly situated, )
) CLASS ACTION COMPLAINT
Plaintiff, )
) DEMAND FOR JURY TRIAL
vs. )
)
LEGENDS BANK, )
)
Defendant. )
)

NoW comes DON ANDERSON (“Plaintiff”), on behalf of himself and all others similarly

situated and alleges as folloWs:
INTRODUCTION

l. Plaintiff brings this action individually and on behalf of all others similarly
situated against Defendant LEGENDS BANK alleging violations of the Electronic Fund Transfer
Act, 15 U.S.C.§ 1693 el seq. and its implementing regulations 12 C.F.R. § 205 et seq. (hereinafter
referred to collectively as the “EFTA”).

2. The Congressional findings and declaration of purpose regarding the EFTA are as
folloWs:

(a) Rights and liabilities undefined

The Congress finds that the use of electronic systems to transfer funds provides
the potential for substantial benefits to consumers However, due to the unique
characteristics of such systems, the application of existing consumer protection
legislation is unclear, leaving the rights and liabilities of consumers, financial
institutions and intermediaries in electronic fund transfers undefined.

(b) Purposes
lt is the purpose of this subchapter to provide a basic framework establishing the
rights, liabilities, and responsibilities of participants in electronic fund transfer

systems The primary objective of this subchapter, however, is the provision of
individual consumer rights.

15 U.s.C. § 1693.

_1_
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 1 of 10 Page|D #: 1

 

 

 

\OOO\`|O\U\-l>b)[\))_\

l\)l\)l\)[\.)l\)[\)[\)l\.)[\))--i>-‘)-\)---\l---l»-\)--a)--a)-\)-k
OO\]O\UI-I>L))[\)*-‘O\OOO\]O\Ul-l>b)[\)*-“C

 

3. Among other things, the EFTA imposes certain disclosure requirements upon
operators of automated teller machines (“ATMS”).

4. 15 U.S.C. § 1693b(d)(3)(A) requires any ATM operator who imposes fees on
consumers in connection with electronic fund transfers to provide notice of the fact that the fee is
being imposed and the amount of the fee.1

5 . 15 U.S.C. § 1693b(d)(3)(B) identifies the location where the required notice must
be posted as follows:

(B) Notice requirements

(i) On the machine

The notice required under clause (i) of subparagraph (A) with respect to any fee
described in such paragraph shall be posted in a prominent and conspicuous
location on or at the automated teller machine at which the electronic fund
transfer is initiated by the consumer.

(ii) On the screen

The notice required under clauses (i) and (ii) subparagraph (A) with respect to any
fee described in such subparagraph shall appear on the screen of the automated
teller machine, or on a paper notice issued form such machine, after the
transaction is initiated and before the consumer is irrevocably committed to
completing the transaction. . ..

6. The relevant implementing regulation, 12 C.F.R. § 205.16(0) reinforces EFTA’s
statutory posting requirement, mandating that the mandatory fee notice: 1) be posted in a
“prominent and conspicuous location” on or at the ATM machine; and 2) “on the screen of the
automated teller machine or by providing it on paper, before the consumer is committed to paying

the fee.” 12 C.F.R. § 205.16(@)(1) and (2).

 

1 “Electronic hand transfer” is defined as “any transfer of fiinds, other than a transaction originated by check, drafc,
or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, or computer or
magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, direct deposits or
withdrawals of funds, and transfers initiated by telephone....” 15 U.S.C. § 1693a(6).

_ 2 _
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 2 of 10 Page|D #: 2

 

 

 

\OOO\]O\U\-I>WN>-‘

[\)[\)[\)[\)[\)[\.)[\)[\)[\))-al-A)-\r-¢)-l»-l)-\)-a)-i»_\
OO\]O'\U\-l>WN>-*O\OOO\]O\UIJ>L)JNl-‘O

 

7. 15 U.S.C. § 1693b(d)(3)(C), and its implementing regulation, 12 C.F.R. 205.16(e),
prohibit ATM operators from imposing a fee on a consumer unless EFTA’s notice and posting
requirements are followed by the ATM operator.

8. Specifically, 15 U.S.C. § l693b(d)(3)(C) states, in relevant part:

(C) Prohibition on fees not properly disclosed and explicitly assumed by the consumer

No fee may be imposed by any automated teller machine operator in connection
with any electronic fund transfer initiated by a consumer for which a notice is
required under subparagraph (A), unless_

(i) The consumer receives such notice in accordance with subparagraph
(B). ..
9. In connection with the 2006 amendments to the EFTA, the board of governors of

the Federal Reserve published its final rule and official staff interpretation which, inter alia,

explained the EFTA’s disclosure requirements as follows:

The final rule clarifies the two-part disclosure scheme established in Section
904(d)(3)(B) of the EFTA. The first disclosure, on ATM signage posted on or at the
ATM, allows consumers to identify quickly ATMs that generally charge a fee for use.
This disclosure is not intended to provide a complete disclosure of the fees associated
with the particular type of transaction the consumer seeks to conduct. Until a
consumer uses his or her card at an ATM, the ATM operator does not know whether
a surcharge will be imposed for that particular consumer. Rather it is the second,
more specific disclosure, made either on the ATM screen or on an ATM receipt, that
informs the consumer before he or she is committed to the transaction whether, in
fact, a fee will be imposed for the transaction and the amount of the fee. ..

71 F.R. 1638, 1656.

10. The EFTA imposes strict liability upon ATM operators which fail to comply with
its disclosure requirements See e.g., Flores v. Dz'amond Bank, 2008 WL 4861511 (N.D. Ill.,
Nov. 7, 2008). Cf Bisbey v. D.C. National Bank, 793 F.2d 315, 318-19 (D.C. Cir. 1986).
(“Among the protections afforded to consumers is the right to receive notice from the ATM
operator of the existence and amount of any fee that operator might impose on consumers for
conducting transactions at the ATM. 15 U.S.C. § 1693b(d)(3). This requires the ATM operator to

place notice both on the machine itself and upon the ATM screen. 15 U.S.C. §1693b(d)(3)(B)”).

_ 3 _
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 3 of 10 Page|D #: 3

 

 

 

 

\OOO\]O’\Ul-I>L))l\))_l

[\.) [\) [\) [\.) I\) [\)-[\.) [\) [\) )-1 r-a )-\ r-l 1-1 )-l r-i )-1 )-1 \-\
OO\IO`\§ll-LL»J[\.)>-‘O\OOO\]O\§II-BUJ[\)*_‘O

 

A plaintiff seeking statutory damages under the EFTA need not prove that he or she has sustained
any actual financial loss, or that he or she relied upon the lack of mandatory disclosure as an
inducement to enter the transaction. See Burns v. Fz'rsl Amerz'can chk, 2006 WL 3754820 *6 (N.
D. Ill., Dec. 19, 2006) (“Section 1693b(d)(3) prohibits an ATM operator from charging a fee
unless it provides notice of its fee on the machine and on the screen, period, no mention of a

necessary scienter.”)

JURISDICTION AND VENUE
ll. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 15

U.S.C. § 1693 et. seq.
12. Plaintiff’ s claims asserted herein arose in this judicial district and Defendant does
substantial business in this judicial district and/or is the operator of ATMS in this judicial district.
13. Venue in this judicial district is proper under 28 U.S.C. § 139l(b) and (c) and
1400(a) in that this is the judicial district in which a substantial part of the acts and omissions

giving rise to the claims occurred.

PARTIES

14. Plaintiff, Don Anderson, is and at all times relevant hereto was a resident of the
state of New York.

15 . Defendant, LEGENDS BANK is located at 310 First Street, Clarksville, TN
37040.

16. Defendant is an automated teller machine operator, as that term is defined by 12
C.F.R. § 205.16(a) which states: “Automated teller machine operator means any person that
operates an automated teller machine at which a consumer initiates an electronic fund transfer or
a balance inquiry and that does not hold the account to or from which the transfer is made, or

about which the inquiry is made.”

_ 4 _
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 4 of 10 Page|D #: 4

 

 

 

 

\OOO\`|O`\Ul-I>L)J[\)i-a

I\)[\)[\)[\)[\)[\)[\)[\)[\)r-\)-\)-a>-l)-k+-)-lr-l+-a»-d
OO\\O`\UI-I>L)Jl\)r-*O\OOO\]O\UI-I>WNF-‘C>

 

FACTS RELATED TO PLAINTIFF’S TRANSACTION
17. Specifically, Plaintiff made a cash withdrawal from Defendant’s ATMS at the

 

following locations:
(a) On or about Cotober 1, 2012, Plaintiff made an electronic fund transfer at
Defendant’s ATM located at 1814 Tiny Town Road Clarksville,
Tennessee. Defendant charged Plaintiff a fee of $3.00 in connection with
the above-described transaction.

(b) On or about October 1, 2012, Plaintiff made an electronic fund transfer at
Defendant’s ATM located at 2120 Wilma Rudolph Blvd, Clarksville,
Tennessee. Defendant charged Plaintiff a fee of $3.00 in connection with
the above-described transaction

(c) On or about October 1, 2012, Plaintiff made an electronic fund transfer at
Defendant’s ATM located at 310 North First Street, Clarksville, Tennessee.
Defendant charged Plaintiff a fee of $3.00 in connection with the above-
described transaction.

18. At the time of the above-described electronic transaction, Plaintiff did not maintain
any accounts with Defendant.

19. At the time of the above-described transaction, Defendant was acting as an
“automated teller machine operator” that operated the automated teller machine at which Plaintiff
initiated an electronic fund transfer or a balance inquiry.

20. However, at the time of the above-described transaction, there was no notice
posted “on or at” the ATM operated by Defendant apprising consumers that a fee would be
charged for use of the ATM.

21. Because Defendant did not post the required notice, it was not permitted to charge

a usage fee to Plaintiff and other class members

CLASS ACTION ALLEGATIONS
22. Plaintiff brings this class action on behalf of himself and all other similarly

situated pursuant to Rules 23 (a) and 23 (b) of the Federal Rules of Civil Procedure.

_ 5 _
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 5 of 10 Page|D #: 5

 

 

 

\OOO\]O\Ul-I>WI\))-a

l\)[\)[\)l\)l\)l\)[\)l\)l\)h-lb-¢b--l)-ar-l)-l)-lh-d)-a)-d

 

23. Plaintiff seeks to represent a class of persons to be defined as follows:

All persons who during the year preceding the filing of Plaintiff’ s complaint: 1)
where charged a “terminal fee” at Defendant’s ATMs located in the state of
Tennessee, which were operated by Defendant when such persons made an
electronic fund transfer and/or balance inquiry where, 2) no notice indicating that
such fee was to be charged was posted on or at the outside of the ATM machine.

24. Congress expressly intended that the EFTA would be enforced, in part, through
private class actions. 15 U.S.C. § l693m(a).

25. The EFTA’s class action enforcement provisions are identical, in relevant part, to
the class action enforcement provisions of other consumer protection statutes and housed within
the Consumer Credit Protection Act. (15 U.S.C. § 1692 et seq.) There is abundant authority
interpreting and applying these statutory class action provisions, throughout the federal judiciary.
F ederal courts have routinely certified classes relating to consumer claims for statutory damages,
generally, and for violation of the EFTA’s ATM fee disclosure provisions, specifically. See, e.g.,
Hammer v. JP’s Southwestern Foods, LLC, No. 08-cv-0339 (W.D. Mo.)(Gaitan, .l),' Flores, supra
2008 WL 486] 51 1 at 3-5,' Burns, supra., 2006 WL 3754820 at *]]-]2,' Jackman v. Global Cash
Access Holdings, 09-cv-897 (W.D. Pa.)(Mc Verry, J.)(class certified and final settlement approval
granted); Nolfv. Allegheny Bank of Pittsburgh, 09-cv-645 (W.D.Pa.)(Bissoon, J)(class certified
and final settlement approval granted); Dragotta v. Northwest Bancorp, Inc. d/b/a Northwest
Savings Bank, 09-cv-632 (W.D. Pa.)(Fischer, J) .)(class certified and final settlement approval
grantea?,' Parker v. First-Citizen Bank & T rust Company, 09-cv-0588 (M D. Tenn.)(Campbell, J)
.)(class certified and final settlement approval granted),' Polevoy v. Devon Bank, 08-cv-4822
(N.D. lll_.)(Kennelly, J) (class certified and final settlement approval granted),'Ochart v.
Broadway Bank, 08-cv-4893, (N.D, Ill.)(Castillo, J.)(class certified and final settlement approval
granted),'Anthony v. Fifth Third Bank (Chicago), 08-cv-4359, (N.D. Ill)(Schenkier, J.)(class
certified and final settlement approval granted),' Zintel v. Financial Partners Credit Union, (C.D.
CA), SACV 09-0868. (class certified and final settlement approval granted). l b

26. Numerosity: The class described above is so numerous that joinder of all

individual members in one action would be impracticable The disposition of the individual

_ 6 _
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 6 of 10 Page|D #: 6

 

 

 

[\) [\) I\) [\.) [\.) l\) [\) [\) [\) )-\ »-1 b-A »-l )-1 )-d >-1 )-\ )-1 )-1
00 \] O\ Ul 45 93 I\) 1-‘ 0 \D OO` \l O\ Ul h L») l\) *-" C

\O 00 \]_O\ Ul -l> L)J [\) )-a

 

claims of the respective class members through this class action will benefit both the parties and
this Court.

27. Plaintiff is informed and believes, and thereon alleges, that there are at minimum,
thousands of members of the class described above.

28. The exact size of the class and the identities of the individual members thereof are
ascertainable through Defendant’s records.

29. Members of the class may be notified of the pendency of this action by techniques
and forms commonly used in class actions, such as by published notice, e-mail notice, website
notices, first class mail, or combinations thereof, or by other methods suitable to this class and
deemed necessary and/or appropriate by this Court.

30. Typicality: Plaintiff’s claims are typical of the claims of the members of the class.
The claims of the Plaintiff and members of the class are based on the same legal theories and
arise from the same unlawful and willful conduct.

31. Plaintiff and members of the class were each consumers who used an ATM
machine operated by Defendant to make an electronic fund transfer or balance inquiry and were
charged a terminal owner fee, notwithstanding that the posting providing notice of the fee
required by EFTA “on or at” Defendant’s terminals was not present.

32. Common Questions of Fact and Law: There is a well-defined community of
interest and common questions of fact and law affecting members of the class.

33. The questions of fact and law common to the class predominate over questions

which may affect individual members and include the following:

a. Whether, under 15 U.S.C. § 1693b(d)(3)(A) and 12 C.F.R. 205.16,
Defendant was, at all relevant times, an automated teller machine operator
that imposed a fee on consumers for providing host electronic fund transfer
services to those consumers;

b. Whether Defendant complied with the notice requirements of 15 U.S.C. §
1693(d)(3)(B) and 12 C.F.R. 205.16; and,

c. Whether Plaintiff and members of the class are entitled to statutory
damages, costs and/or attorneys’ fees for Defendant’s acts and conduct.

_ 7 _
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 7 of 10 Page|D #: 7

 

 

 

\OOO\]O\Ul-I>L)Jl\))--

[\)[\.)l\)[\)[\)[\)l\)[\)[\)»--al~--a)-~r-i)--»»----‘»---)-lr--)-l
OO\]O\Ul-l>‘~)Jl\)v-*O©OO\]O\U!-I>WNl-‘O

 

34. Adequacv of Representations: Plaintiff is an adequate representative of the class
because his interests do not conflict with the interests of the members of the class. Plaintiff will
fairly, adequately, and vigorously represent and protect the interests of the members of the class
and has no interests antagonistic to the members of the class. Plaintiff has retained counsel who
is competent and experienced in the prosecution of class action litigation

35. Superiority: A class action is superior to other available means for the fair and
efficient adjudication of the claims of the class. While the aggregate damages which may be
awarded to the members of the class are likely to be substantial, the damages suffered by the
individual members of the class are relatively small. As a result, the expense and burden of
individual litigation makes it economically infeasible and procedurally impracticable for each
member of the class to individually seek redress for the wrongs done to them. Plaintiff does not
know of any other litigation concerning this controversy already commenced by or against any
member of the class. The likelihood of the individual members of the class prosecuting separate
claims is remote. Individualized litigation would also present the potential for varying,
inconsistent, or contradictory judgments, and would increase the delay and expense to all parties
and the court system resulting from multiple trials of the same factual issues. ln contrast, the
conduct of this matter as a class action presents fewer management difficulties, conserves the
resources of the parties and the court system, and would protect the rights of each member of the
class. Plaintiff knows of no difficulty to be encountered in the management of this action that
would preclude its maintenance as a class action.

SUBSTANTIVE VIOLATION

36. 15 U.S.C. § l693b(d)(3)(A) provides that as a prerequisite to imposition of a usage
fee upon a consumer for host transfer services, an automated teller machine operator must provide
notice to the consumer consistent with subparagraph (B) of that statutory section.

37. Subparagraph (B) of 15 U.S.C. § 1693(d)(3) provides in relevant part:

(B) Notice requirements

(iii) On the machine

. - 8 -
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 8 of 10 Page|D #: 8

 

 

 

 

\DOO\]O\U\-l>~b)l\)*-‘

Nr\)r\)r\)r\)r\)r\)r\)r\)~
oo\)o\w.l>wm~o\o§:;@f§§:;

 

The notice required under clause (i) of subparagraph (A) with respect to any fee
described in such subparagraph shall be posted in a prominent and conspicuous
location on or at the automated teller machine at which the electronic fund
transfer is initiated by the consumer.

38. In turn, subparagraph (c) of 15 U.S.C. § 1693b(d)(3) states, in relevant part:

(C) Prohibition on fees not properly disclosed and explicitly assumed by the consumer

No fee may be imposed by any automated teller machine operator in connection
with any electronic fund transfer initiated by a consumer for which a notice is
required under subparagraph (A), unless_

(i) The consumer receives such notice in accordance with subparagraph (B)...

39. EFTA’s statutory notice requirements are reinforced by the implementing
regulations set forth at 12 C.F.R. § 205.16.

40. Defendant violated the notice requirements of EFTA in connection with providing
host transfer services to Plaintiff and the Class

41. Defendant was prohibited from imposing any usage fee or similar fee for
providing host transfer services because it failed to comply with EFTA’s notice requirements

42. 15 U.S.C. § 1693m provides that Defendant shall be liable to Plaintiff and Class
for violations of 15 U.S.C. § 1693 et seq. in the amount of, inter alia, statutory damages to be
determined by the Court, the costs of this action and reasonable attorneys’ fees

43. On November 27, 2009, the Federal Deposit Insurance Corporation (“FDIC”)- a
major regulator of many banks_issued Financial Institution Letter 66-2009 reiterating the fact
that the EFTA requires ATM operators to post ATM fee notices both (a) in a prominent and
conspicuous location on or at the automated teller machine, and (b) on the screen or on paper
before the consumer is committed to paying the fee. The letter also noted that the FDIC had first
notified FDIC-supervised banks of these requirements in a Financial Institution Letter dated
March 23, 2001 (FlL-25-2001).

44. By way of this action, Plaintiff seeks the imposition of statutory damages costs of

suit and attorneys’ fees

_ 9 _
Case 3:12-cV-01046 Document 1 Filed 10/12/12 Page 9 of 10 Page|D #: 9

 

 

 

\OOO\]O\U\-I>b~>l\))-¢

l\)l\)l\)l\)l\)l\)l\)l\)l\)*-*
oo\lo~msw-o\o§§;§f$§:;

 

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, on behalf of himself and the members of the class, prays for:

a. An order certifying the class and appointing Plaintiff as the representative
of the class, and appointing counsel for Plaintiff as counsel for the class;

b. An award to Plaintiff and the members of the class of statutory damages;

c. Payment of costs of suit; and,

d. Payment of reasonably attorneys’ fees

A TRIAL BY JURY IS DEMANDED.

Dated: October 11, 2012 Respectfully submitted,
REEVES, HERBERT & ANDERSON, P.A.

ByTHUW/MUW uf DWWDVL-
Pamela L. Reeves (BPR #006643
Tyson Place, Suite 130 j
2607 Kingston Pike
Knoxville, TN 37919
(865) 540-1977 (t)

Counsel for Plaintiff
DON ANDERSON

_1()_

\

 

Case 3:12-cv-01046 Document 1 Filed 10/12/12 Page 10 of 10 Page|D #: 10

 

 

 

